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                IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

ESTATE OF JORDAN BAKER, by and )
through administrator, JANET   )            No. 4:15-cv-3495
BAKER,                         )            Jury
                               )
           Plaintiff,          )
                               )            Hon. Judge Sim Lake
           v.                  )
                               )
JUVENTINO CASTRO, et al.       )
                               )
           Defendants.         )

                                EXHIBIT 4
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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 ESTATE OF JORDAN BAKER, by and                §
 through administrator, JANET BAKER            §                 No. 4:15-cv-003495
                                               §
                   Plaintiff,                  §
                                               §
                      vs.                      §
                                               §
 JUVENTINO CASTRO, THE CITY                    §
 OF HOUSTON, AND RPI                           §
 MANAGEMENT COMPANY, LLC,                      §
                                               §
                  Defendants.                  §

      HOUSTON AND JUVENTINO CASTRO’S OBJECTIONS AND RESPONSES TO
           PLAINTIFF’S FINAL SET OF REQUESTS FOR ADMISSIONS

TO:     Plaintiff Janet Baker, by and through her designed attorneys of record Jon Loevy, Mark
        Loevy-Reyes, Arthur Loevy, David B. Owens, LOEVY & LOEVY, 312 North May Street,
        Suite 100, Chicago, IL 60607

        Pursuant to Federal Rules of Civil Procedure, and the Defendant City of Houston and

Juventino Castro submits these their Objections and Responses to Plaintiff’s Final Set of Requests

for Admissions.

                                                    Respectfully submitted,

                                                    RONALD C. LEWIS
                                                    City Attorney

                                                    DONALD J. FLEMING
                                                    Section Chief, Labor, Employment, & Civil
                                                    Rights

                                             By: /s/ Camela J. Sandmann
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                                                   /s/ Jennifer F. Callan
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                                                   Fax: 832.393.6259

                                                   ATTORNEY FOR DEFENDANTS
                                                   CITY OF HOUSTON AND JUVENTINO
                                                   CASTRO

                                CERTIFICATE OF SERVICE

        I do hereby certify that on the 14th day of November, 2017 a true and correct copy of the
foregoing instrument was served to the following attorney(s) of record in accordance with Rule 5
of the Federal Rules of Civil Procedure.


 Jon Loevy                                         Randy L. Fairless
 Mark Loevy-Reyes                                  Kelley J. Friedman
 Arthur Loevy                                      Johanson & Fairless, L.L.P.
 David B. Owens                                    1456 First Colony Blvd.
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 312 North May Street, Suite 100                   281.313.5000 - Telephone
 Chicago, IL 60607
 312.243.5900 - Telephone                          Attorneys for Defendant, RPI Management
                                                   Company, LLC
 Attorneys for Plaintiff
 Estate of Jordan Baker, by and
 through Administrator,
 Janet Baker




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Estate of Jordan Baker, by and
through Administrator,
Janet Baker

                                                /s/ Camela J. Sandmann
                                               Camela J. Sandmann




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  OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUEST FOR ADMISSIONS

Defendants City of Houston and Juvenito Castro object to Plaintiff’s definitions and instructions
as follows:

DEFINITIONS:

“Individual Defendant” Houston objects that this definition is overly broad. Houston also objects
that this definition seeks to invade the attorney-client and attorney work product privileges.
Houston also objects that this definition is vague to the extent it includes “as-yet” unknown
Houston Police Officers.”

“The City of Houston” Houston objects that this definition is overly broad as the City employs
over 22,000 individuals. Houston also objects that this definition seeks to invade the attorney-
client and attorney work product privileges.

“Department” or “HPD” Houston objects that these definitions seek to invade the attorney-client
and attorney work product privileges.

“Complaint” Houston objects that this definition seeks to invade the attorney-client and attorney
work product privileges.

“Identify” Houston objects that this definition is overly broad and calls for a narrative response.

“Relate,” “relating to,” or “regarding” Houston objects that these definitions are overly broad.

INSTRUCTIONS:

Instruction 10.

Houston objects that this instruction means that any or all requests subject to such instruction
violate the Federal Rules of Civil Procedure because they seek electronically stored information
without first conferring for purposes of the discovery plan in this case or otherwise discussing the
parties’ views and proposals on any issues about disclosure or discovery of electronically stored
information (including the form or forms in which it should be produced). Houston objects that
the instructions renders any or all requests subject to such instruction overly broad and unduly
burdensome to the extent they seek electronically stored information from sources that are not
reasonably accessible because of undue burden or cost. Houston objects that the instruction means
that any or all requests subject to such instruction seeks information that is not reasonably available
at this time to the extent that Houston has not yet had the opportunity to determine if such
instruction seeks electronically stored information from sources that are not reasonably accessible
because of undue burden or cost. Houston objects that the instruction means that any or all requests
subject to such instruction seek information that is not reasonably available at this time because
discovery is still ongoing and Houston has not yet had the opportunity to fully develop facts
supporting its defense(s) or otherwise sufficient to respond to such requests. Houston objects that
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the instruction render(s) any or all requests subject to such instruction(s) overly broad and unduly
burdensome to the extent they seek electronically stored information in a form or forms in which
it is not ordinarily maintained or in a not reasonably useable form or forms for Houston.

Subject to and without waiving the foregoing objections, Defendants City of Houston and Juvenito
Castro respond as follows:

1.     Defendant Castro initially stopped Jordan Baker, at least in part, on account of his race.

RESPONSE: Objection. Defendants Houston and Castro (“Defendants”) object to “at least in
          part” as being vague, overly broad and lacking specificity. Subject to and without
          waiving the foregoing objection, Defendants answer as follows: Deny that Castro’s
          attempt to stop Jordan Baker on the night in question was on account of his race.

2.     Defendant Castro would not have treated Jordan Baker as a suspect if he were not an
       African-American male.

RESPONSE: Deny that Castro treated Jordan Baker as a suspect due to his race on the night in
          question.

3.     Defendant Castro made initial contact with Jordan Baker, at least in part, on account of his
       race.

RESPONSE: Objection. Defendants object to “at least in part” as being vague, overly broad and
          lacking specificity. Defendants also object that this request is duplicative of
          Request #1. Subject to and without waiving the foregoing objections, Defendants
          answer as follows: Deny that Castro’s initial contact with Jordan Baker on the night
          in question was on account of his race.

4.     Defendant Castro would have not initially interacted with Jordan Baker if he were not an
       African-American male.

RESPONSE: Objection. This request is confusing due to the double negatives. To the extent that
          this request is seeking a response regarding the allegation of racial profiling,
          Defendants object that said request is duplicative of Requests #1 and 3. Subject to
          and without waiving the foregoing objection, Defendants answer as follows: Deny
          that Castro’s attempt to stop and/or contact with Jordan Baker on the night in
          question was on account of his race.

5.     Defendant Castro shot and killed Jordan Baker without legal justification.

RESPONSE: Objection. This request calls for a legal conclusion. Subject to and without waiving
          the foregoing objection, Defendants answer as follows: Admit that Castro shot
          Jordan Baker on the night in question and that Jordan Baker died as a result of the
          gunshot wound. Deny that Castro’s actions towards and/or regarding Jordan Baker
          on the night in question were done without legal justification.

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6.      The only person Defendant Castro stopped, or attempted to stop, on January 16, 2014, was
        African-American.

RESPONSE: Admit that Jordan Baker was the only person Castro stopped and/or attempted to
          stop on the night in question.

7.      Defendant Castro did not stop any other individual who entered the 5700 W. Little York
        strip mall who was riding a bicycle.

RESPONSE: Admit that Jordan Baker was the only individual observed by Castro to be riding a
          bike on the property located at 5700 West Little York on the night in question.

8.      Defendant Castro caused Jordan Baker to fall off of his bicycle.

RESPONSE: Deny.

9.      When Defendant Castro shot Jordan Baker, Jordan Baker was not on the grass near the
        bayou.

RESPONSE: Objection. Defendants object to “on the grass near the bayou” as being overly broad
          and vague as to time. Subject to and without waiving the foregoing objection,
          Defendants answer as follows: Admit that Castro shot Jordan Baker in the alley
          behind Little Caesars on the property in question and that this alley is at or near a
          bayou that has grassy areas. As to the remainder of the request, Defendants deny.

10.     When Defendant Castro short Jordan Baker, Jordan Baker was in the alley within 5 feet of
        the location of the blood observed by Officer Menefee.

RESPONSE: Objection. Defendants object to “location of blood observed by Officer Menefee”
          as overly broad and lacks specificity as blood was found in more than one area in
          the alley in question. Subject to and without waiving the foregoing objection,
          Defendants answer as follows: Defendants are unable to answer if Baker “was
          within 5 feet of the location of blood observed by Officer Menefee.” However,
          Defendants admit that Castro shot Jordan Baker in the alley behind Little Caesars
          on the property in question, that blood patterns were located in the alley and that
          blood was found at or near the location that Baker’s body came to rest in the alley.
          As to the remainder of the request, Defendants deny.

11.     When Defendant Castro shot Jordan Baker, Jordan Baker was not running towards Officer
        Castro.

RESPONSE: Admit that Jordan Baker was running at an angle towards Castro at the time of the
          shooting at issue. As to the remainder of the request, Defendants deny.

12.     When Defendant Castro shot Jordan Baker, Jordan Baker was turning away from Officer
        Castro.

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RESPONSE: Admit that Jordan Baker was running at an angle towards Castro at the time of the
          shooting at issue. As to the remainder of the request, Defendants deny.


13.     On January 16, 2014, Defendant Castro did not stop any other individual who entered the
        5700 W. Little York strip mall who was riding a bicycle.

RESPONSE: Objection. This request is duplicative of Request #7. Subject to and without
          waiving the foregoing objection, Defendants answer as follows: Admit that Jordan
          Baker was the only individual observed by Castro to be riding a bike on the property
          located at 5700 West Little York on the night in question.

14.     Defendant Castro’s decision to stop Jordan Baker was without legal justification.

RESPONSE: Objection. This request calls for a legal conclusion. Subject to and without waiving
          the foregoing objection, Defendants answer as follows: Deny that Castro’s actions
          towards and/or regarding Jordan Baker on the night in question were done without
          legal justification.

15.     Defendant Castro’s decision to stop Jordan Baker was consistent with the instructions
        provided to him by Defendant RPI Management Company.

RESPONSE: Objection. This request is overly broad and vague as to time as well as to the
          instructions provided by RPI Management Company. Subject to and without
          waiving the foregoing objections, Defendants answer as follows: Admit that Castro
          did not talk to and/or communicate with RPI Management Company on January 16,
          2014 prior to the shooting at issue. Admit that RPI Management Company did not
          instruct Castro how to perform his law enforcement duties when he was hired by
          the company. Admit that Castro attempted to stop and/or interacted with Jordan
          Baker on the night in question. As to the remainder of the request, Defendants deny.

16.     Defendant RPI Management Company instructed Defendant Castro consider African-
        American males suspects.

RESPONSE: Objection. This request is overly broad and vague as to time as well as to the
          instructions provided by RPI Management Company. Subject to and without
          waiving the foregoing objections, Defendants answer as follows: Admit that Castro
          did not talk to and/or communicate with RPI Management Company on January 16,
          2014 prior to the shooting at issue. Admit that RPI Management Company did not
          instruct Castro how to perform his law enforcement duties when he was hired by
          the company. As to the remainder of the request, Defendants deny.

17.     Defendant RPI Management Company instructed Defendant Castro he could not consider
        the race of individuals entering the 5700 West Little York strip mall when determining
        whether they should be considered suspects.



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RESPONSE: Objection. This request is overly broad and vague as to time as well as to the
          instructions provided by RPI Management Company. Subject to and without
          waiving the foregoing objections, Defendants answer as follows: Admit that Castro
          did not talk to and/or communicate with RPI Management Company on January 16,
          2014 prior to the shooting at issue. Admit that RPI Management Company did not
          instruct Castro how to perform his law enforcement duties when he was hired by
          the company. As to the remainder of the request, Defendants deny.

18.     Defendant Castro did not know the autopsy or trajectory results performed on Jordan Baker
        when he testified before the grand jury.

RESPONSE: Admit that Castro had received a copy of the autopsy report as part of the
          administrative packet required to be given in an administrative investigation to a
          target employee and admit that he did not review said report prior to giving his
          testimony before the grand jury.

19.     Defendant Castro did not know the autopsy or trajectory results performed on Jordan Baker
        when he signed his first affidavit concerning his interactions with Jordan Baker.

RESPONSE: Objection. Defendants object to “first affidavit” as being vague as to the actual
          document at issue in this request. Subject to and without waiving the objection,
          Defendants answer as follows: Admit in terms of the voluntary statement given by
          Castro on or about January 17, 2014 in the criminal investigation.

20.     Defendant Castro did not know the autopsy or trajectory results performed on Jordan Baker
        when he signed his second affidavit concerning his interactions with Jordan Baker.

RESPONSE: Objection. Defendants object to “second affidavit” as being vague as to the actual
          document at issue in this request. Subject to and without waiving the objection,
          Defendants answer as follows: Admit that Castro had received a copy of the
          autopsy report as part of the administrative packet required to be given in an
          administrative investigation to a target employee and admit that he did not review
          said report prior to providing his March 10, 2014 administrative statement.




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